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                                                           August 17, 2022

       By ECF

       Hon. Claire C. Cecchi, USDJ
       United States District Court
       Martin Luther King Federal Building & Court House
       50 Walnut Street
       Newark, New Jersey 07102

               Re: Baskerville v. Robinson, 18-cv-09873-CCC

       Dear Judge Cecchi:

             Although we have yet to receive a death certificate, we believe, as the State does, that Mr.
       Baskerville has died.

              As we discussed with Chambers, this matter should be suspended or dismissed without
       prejudice, and with an opportunity to address the issue of mootness within 60 days.

                                                           Respectfully,

                                                            /s/ Michael Kimm

                                                           Michael S. Kimm
                                                           Attorneys for Petitioner
       cc: All counsel by ECF
